                                         Squirrels Research Labs LLC
                                                           Balance Sheet
                                                       As of October 31, 2021


                                                                                                                   TOTAL
ASSETS
 Current Assets
 Bank Accounts
  1010 Checking x6063                                                                                            -1,797.80
  1011 PPP Checking                                                                                                901.02
  1015 Checking x3391                                                                                                 0.00
  1030 Cryptocurrency Wallet                                                                                     20,276.51
  1040 ETH Account                                                                                                3,338.44
  1050 Mining Revenue Account                                                                                         0.00
 Total Bank Accounts                                                                                            $22,718.17
 Accounts Receivable
  1200 Inter-Company Receivable from Squirrels                                                                        0.00
  1210 Accounts Receivable (A/R)                                                                                 78,880.70
  1220 Accounts Receivable (A/R) - EUR                                                                                0.00
 Total Accounts Receivable                                                                                      $78,880.70
 Other Current Assets
  1310 Active Inventory                                                                                         111,777.97
  1315 Active Inventory Components                                                                              729,122.51
  1320 Legacy Inventory                                                                                               0.00
  1325 Legacy Inventory Components                                                                          1,035,506.23
  1330 Inventory Miscellaneous                                                                                  380,397.43
  1340 Inventory (Re-Work/Damages)                                                                              320,258.01
  1491 8050 Purchase Earnest Money                                                                               10,000.00
  1910 DAS Loan                                                                                                       0.00
  1920 R&D Inventory                                                                                                  0.00
  1930 ST Loan Related Parties                                                                                  135,000.00
 Total Other Current Assets                                                                                $2,722,062.15
 Total Current Assets                                                                                      $2,823,661.02
 Fixed Assets
 1950 Accumulated Depreciation                                                                               -688,031.68
 1960 Building Improvements                                                                                 1,293,253.09
 1975 Machines and Equipment Purchases                                                                          874,577.84
 1976 Active Mining Hardware                                                                                1,559,017.95
 Total Fixed Assets                                                                                        $3,038,817.20
 Other Assets
 1905 Allmine Acquisition                                                                                       274,694.00
 1915 Mining Infrastructure                                                                                     539,195.03
 PPE In Process                                                                                                  76,400.00
 Total Other Assets                                                                                         $890,289.03
TOTAL ASSETS                                                                                               $6,752,767.25




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                                                             Balance Sheet
                                                         As of October 31, 2021


                                                                                                                     TOTAL
LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   2001 Accounts Payable (A/P)                                                                                    725,877.61
  Total Accounts Payable                                                                                      $725,877.61
  Credit Cards
   10020 SQRL CC
    1020 Andrew x 9736                                                                                              5,145.68
    1021 Amanda CC x3395                                                                                             -174.68
    1022 Dave CC x5173                                                                                             35,780.32
   Total 10020 SQRL CC                                                                                             40,751.32
  Total Credit Cards                                                                                              $40,751.32
  Other Current Liabilities
   2000 Unclaimed Refunds                                                                                         896,890.09
   2010 Notes Payable-Short Term                                                                                     221.00
   2030 Mining Infrastructure Improvements                                                                              0.00
   2040 Operating Credit                                                                                                0.00
   2050 Other Salaries Payable                                                                                      1,482.67
    2060 Daniel Meszaros Deferral                                                                                 100,000.00
    2070 Ling Jimenez Deferred Payroll                                                                                  0.00
    2080 Michael Sparmann Deferral                                                                                 97,500.00
   Total 2050 Other Salaries Payable                                                                              198,982.67
   2090 Partner Salaries Payable
    2091 David Stanfill Deferred Payroll                                                                          188,749.81
    2092 George Jimenez Deferred Payroll                                                                           66,666.56
    2093 Jessica Gritzan Deferred Payroll                                                                         112,499.82
   Total 2090 Partner Salaries Payable                                                                            367,916.19
   2100 Profit Sharing                                                                                                  0.00
   Short Term Note- Bradley Conn                                                                                   29,263.08
   Short Term Note- Brandon Osbourne                                                                               36,166.62
  Total Other Current Liabilities                                                                            $1,529,439.65
 Total Current Liabilities                                                                                   $2,296,068.58
 Long-Term Liabilities
  2200 Allmine Buyout Payments-M. Sparmann and S. Butzer                                                             162.00
  2300 Capital Lease Liability                                                                                1,253,647.74
  2400 EIDL Advance                                                                                                     0.00
  2500 Long-Term Note-Avnet                                                                                   7,704,779.76




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                                                             Balance Sheet
                                                         As of October 31, 2021


                                                                                                                     TOTAL
 2600 Notes Payable-Squirrels                                                                                           0.00
 2700 SBA Loan-Home Savings Bank                                                                                  168,362.97
 2800 Sidney Keith Shares Buyout                                                                                        0.00
 8050 Lease Allowance Liability                                                                                   955,500.00
 Long Term Payables to D. Stanfill                                                                                 58,487.31
 Skymax Lease Liability                                                                                           681,250.00
Total Long-Term Liabilities                                                                                 $10,822,189.78
Total Liabilities                                                                                           $13,118,258.36
Equity
3100 Opening Balance Equity                                                                                             0.00
3400 Retained Earnings                                                                                       -6,508,105.89
3500 George D Jimenez Capital Contributions                                                                        88,000.00
3600 Kyle Slutz Capital Contribution                                                                               63,588.68
3700 Treasury Stock                                                                                            -163,000.00
David Stanfill Capital Contributions                                                                              875,000.00
Investment in SQRL
 Investment Contribution- Sidney Keith                                                                             22,800.00
 Investment Contributions - Stephen Allison                                                                        85,000.00
 Investment Contributions- Bradley Conn                                                                            10,062.50
 Investment Contributions- Brandon Osborne                                                                        125,000.00
 Investment Contributions- Dean Givens                                                                             50,000.00
 Investment Contributions- Everett Fominyen                                                                       125,000.00
 Investment Contributions- Gabriel Boutin                                                                           2,500.00
 Investment Contributions- Gail O'Connell                                                                           5,000.00
 Investment Contributions- Henry Terranova                                                                    1,000,000.00
 Investment Contributions- Jason Rettberg                                                                         305,000.00
 Investment Contributions- Jason Skender                                                                            5,000.00
 Investment Contributions- Jon Bulger                                                                              25,000.00
 Investment Contributions- Jonathan Hulecki                                                                       100,000.00
 Investment Contributions- Michael J Rampton                                                                      200,000.00
 Investment Contributions- Tulip Tech                                                                              50,000.00
 Investment Contributions- WIlliam Gallagher                                                                      120,000.00
 Investment Contributions- William Sweeney                                                                         62,500.00
 Investment Contributions-Andrew Boutin                                                                             2,500.00
 Investment Contributions-Elliot Boutin                                                                             5,000.00
 Investment Contributions-Enrique Espinosa                                                                         50,000.00
 Investment Contributions-Joe Fambo                                                                                25,000.00
 Investment Contributions-Justin O'Connell                                                                          5,000.00
Total Investment in SQRL                                                                                      2,380,362.50




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                                                                Balance Sheet
                                                            As of October 31, 2021


                                                                                                                        TOTAL
 Partner Distributions
  Partner Distributions- Andrew Gould                                                                                 -9,016.49
  Partner Distributions- David Stanfill                                                                              -54,016.49
  Partner Distributions- George Jimenez                                                                              -23,318.63
  Partner Distributions- Jessica Gritzan                                                                             -47,534.49
  Partner Distributions- Sidney Keith                                                                                -26,506.40
  Partner Distributions-Kyle Slutz                                                                                   -10,673.40
 Total Partner Distributions                                                                                      -171,065.90
 Net Income                                                                                                     -2,930,270.50
 Total Equity                                                                                                  $ -6,365,491.11
TOTAL LIABILITIES AND EQUITY                                                                                    $6,752,767.25




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                                                             Profit and Loss
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                                                                                                                     TOTAL
Income
 4020 Hardware Sales Income                                                                                   9,963,577.13
 4040 Discounts/Refunds Given                                                                                  -250,000.00
 4060 Shipping Charged                                                                                               665.98
 Hosting Fees                                                                                                      60,934.97
Total Income                                                                                                 $9,775,178.08
Cost of Goods Sold
 5000 Cost of Goods Sold                                                                                      9,241,512.04
 5015 Contract Labor                                                                                               11,378.81
  5016 Support Contract Labor                                                                                      15,500.00
  5018 Development Contract Labor                                                                                 260,436.18
  5019 Hosting Contract Labor                                                                                      15,500.00
 Total 5015 Contract Labor                                                                                        302,814.99
 5020 Development Materials                                                                                       679,899.00
 5030 Domestic Shipping                                                                                            12,990.06
 5040 International Shipping Charges                                                                               12,512.23
 5080 Cost of labor - COS
  5081 Cost of Labor -Admin                                                                                       182,403.62
  5082 Cost of Labor-Engineering                                                                                  197,692.00
  5084 Cost of Labor-Procurement                                                                                  116,204.66
  5085 Cost of Labor-Warehouse                                                                                    223,119.55
 Total 5080 Cost of labor - COS                                                                                   719,419.83
 5090 Payroll Taxes                                                                                                   -35.40
  5091 Payroll Taxes-Admin                                                                                          8,842.79
  5092 Payroll Taxes-Engineering                                                                                   17,355.49
  5094 Payroll Taxes-Procurement                                                                                    7,581.15
  5095 Payroll Taxes-Warehouse                                                                                     20,726.06
 Total 5090 Payroll Taxes                                                                                          54,470.09
 5100 Construction Laborers Pay                                                                                    10,095.00
Total Cost of Goods Sold                                                                                    $11,033,713.24
GROSS PROFIT                                                                                                $ -1,258,535.16
Expenses
 5010 COL-Temporary Labor                                                                                           3,232.50
 6100 Advertising & Marketing                                                                                          21.84
 6200 Utilities Expense                                                                                              509.50
 6300 Bank Charges & Fees                                                                                           8,997.71
 6500 Insurance                                                                                                     4,247.00
 6700 Job Supplies                                                                                                   490.00
 6800 Legal & Professional Services                                                                               136,147.51
 6900 Meals & Entertainment                                                                                          170.25




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                                                         Profit and Loss
                                                    January - October, 2021


                                                                                                                 TOTAL
7010 Office Supplies & Software                                                                                11,008.81
7020 Other Business Expenses                                                                                  -43,144.00
7030 Purchases                                                                                                 28,417.58
7050 Rent & Lease                                                                                             537,249.03
7060 Repairs & Maintenance                                                                                      3,482.00
7080 Travel                                                                                                      761.80
7090 Mileage Reimbursement                                                                                      1,475.60
7100 Hotel                                                                                                     14,642.91
Total 7080 Travel                                                                                              16,880.31
7110 Uncategorized Expense                                                                                       424.78
7150 Dues & Subscriptions                                                                                        -191.18
7170 Equipment Rental                                                                                            203.66
7220 Sales Tax                                                                                                 14,862.70
7240 Utilities                                                                                                282,666.70
7250 Customs Duty Fees                                                                                          1,073.53
7260 Squirrels Overhead Expenses                                                                                1,335.30
7270 Employee Benefits
7280 401k Employer Costs
 7281 401k Employer Costs- Admin                                                                                2,189.32
 7282 401k Employer Costs-Engineering                                                                           5,425.31
 7284 401k Employer Costs-Procurement                                                                           3,242.77
 7285 401k Employer Costs-Warehouse                                                                             5,431.69
Total 7280 401k Employer Costs                                                                                 16,289.09
7290 Employee Insurance
 7291 Employee Insurance-Admin                                                                                  3,257.98
 7292 Employee Insurance-Engineering                                                                           16,026.70
 7294 Employee Insurance-Procurement                                                                            9,904.82
 7295 Employee Insurance-Warehouse                                                                             24,717.22
Total 7290 Employee Insurance                                                                                  53,906.72
Total 7270 Employee Benefits                                                                                   70,195.81
7300 Payroll Charges                                                                                            5,545.30
7310 Server Expense                                                                                            17,355.05
7320 Workers Comp                                                                                              -7,050.28
7410 Commercial Insurance                                                                                      20,189.00
7430 Construction Costs                                                                                         2,000.43
EE Recognition                                                                                                     86.98
Employee Recognition                                                                                             491.69
Employee Software                                                                                                232.20
Fuel                                                                                                             217.88
Tariff Charges                                                                                                  2,124.38




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                                                          Profit and Loss
                                                     January - October, 2021


                                                                                                                  TOTAL
 Warehouse Supplies                                                                                             26,753.83
Total Expenses                                                                                            $1,146,227.80
NET OPERATING INCOME                                                                                     $ -2,404,762.96
Other Income
 7330 Other Miscellaneous Income                                                                               149,447.13
 Crypto Mining Revenue                                                                                     2,077,456.25
 Forgiveness of Debt Income                                                                                    253,904.94
 Mining Profit Share Paid                                                                                 -1,849,310.10
Total Other Income                                                                                          $631,498.22
Other Expenses
 Unrealized Gain or Loss                                                                                             0.00
 7340 Other Miscellaneous Expense                                                                                2,500.00
 Freight/Delivery                                                                                               14,967.62
 Inventory Write Downs                                                                                     1,139,538.14
Total Other Expenses                                                                                      $1,157,005.76
NET OTHER INCOME                                                                                          $ -525,507.54
NET INCOME                                                                                               $ -2,930,270.50




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                                                     Statement of Cash Flows
                                                       January - October, 2021


                                                                                                                 TOTAL
OPERATING ACTIVITIES
 Net Income                                                                                              -2,930,270.50
 Adjustments to reconcile Net Income to Net Cash provided by operations:
  1210 Accounts Receivable (A/R)                                                                                 -536.13
  1310 Active Inventory                                                                                   2,950,586.86
  1315 Active Inventory Components                                                                         -729,122.51
  1320 Legacy Inventory                                                                                             0.00
  1325 Legacy Inventory Components                                                                       -1,035,506.23
  1350 Consigned Kit Inventory (deleted)                                                                      367,484.00
  1910 DAS Loan                                                                                                82,055.50
  1920 R&D Inventory                                                                                            3,000.00
  2001 Accounts Payable (A/P)                                                                            -1,253,983.52
  1020 SQRL CC:Andrew x 9736                                                                                    4,538.50
  1021 SQRL CC:Amanda CC x3395                                                                                -35,601.80
  1022 SQRL CC:Dave CC x5173                                                                                   35,780.32
  2010 Notes Payable-Short Term                                                                            -233,000.00
  2030 Mining Infrastructure Improvements                                                                           0.00
  2060 Other Salaries Payable:Daniel Meszaros Deferral                                                         50,000.00
  2080 Other Salaries Payable:Michael Sparmann Deferral                                                        67,500.00
  2091 Partner Salaries Payable:David Stanfill Deferred Payroll                                                49,999.95
  2092 Partner Salaries Payable:George Jimenez Deferred Payroll                                                31,249.95
  2093 Partner Salaries Payable:Jessica Gritzan Deferred Payroll                                               31,249.95
  Short Term Note- Bradley Conn                                                                                29,263.08
  Short Term Note- Brandon Osbourne                                                                            36,166.62
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:                                451,124.54
Net cash provided by operating activities                                                               $ -2,479,145.96
INVESTING ACTIVITIES
 1491 8050 Purchase Earnest Money                                                                             -10,000.00
 1960 Building Improvements                                                                                -239,754.55
 1975 Machines and Equipment Purchases                                                                        -24,332.20
 1976 Active Mining Hardware                                                                                  256,047.93
 1915 Mining Infrastructure                                                                                   -88,211.03
Net cash provided by investing activities                                                                $ -106,249.85
FINANCING ACTIVITIES
 2200 Allmine Buyout Payments-M. Sparmann and S. Butzer                                                    -170,000.00
 2500 Long-Term Note-Avnet                                                                                 -471,278.03
 2600 Notes Payable-Squirrels                                                                                  -2,750.00
 2700 SBA Loan-Home Savings Bank                                                                              160,362.97
 8050 Lease Allowance Liability                                                                               -68,250.00
 Long Term Payables to D. Stanfill                                                                             58,487.31
 Skymax Lease Liability                                                                                       -50,000.00
 David Stanfill Capital Contributions                                                                         875,000.00
 Investment in SQRL:Investment Contribution- Sidney Keith                                                      22,800.00



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                                                          Statement of Cash Flows
                                                           January - October, 2021


                                                                                                                   TOTAL
 Investment in SQRL:Investment Contributions - Stephen Allison                                                   85,000.00
 Investment in SQRL:Investment Contributions- Bradley Conn                                                       10,062.50
 Investment in SQRL:Investment Contributions- Brandon Osborne                                                   125,000.00
 Investment in SQRL:Investment Contributions- Dean Givens                                                        50,000.00
 Investment in SQRL:Investment Contributions- Everett Fominyen                                                  125,000.00
 Investment in SQRL:Investment Contributions- Gabriel Boutin                                                      2,500.00
 Investment in SQRL:Investment Contributions- Gail O'Connell                                                      5,000.00
 Investment in SQRL:Investment Contributions- Henry Terranova                                               1,000,000.00
 Investment in SQRL:Investment Contributions- Jason Rettberg                                                    305,000.00
 Investment in SQRL:Investment Contributions- Jason Skender                                                       5,000.00
 Investment in SQRL:Investment Contributions- Jon Bulger                                                         25,000.00
 Investment in SQRL:Investment Contributions- Jonathan Hulecki                                                  100,000.00
 Investment in SQRL:Investment Contributions- Michael J Rampton                                                 200,000.00
 Investment in SQRL:Investment Contributions- Tulip Tech                                                         50,000.00
 Investment in SQRL:Investment Contributions- WIlliam Gallagher                                                 120,000.00
 Investment in SQRL:Investment Contributions- William Sweeney                                                    62,500.00
 Investment in SQRL:Investment Contributions-Andrew Boutin                                                        2,500.00
 Investment in SQRL:Investment Contributions-Elliot Boutin                                                        5,000.00
 Investment in SQRL:Investment Contributions-Enrique Espinosa                                                    50,000.00
 Investment in SQRL:Investment Contributions-Joe Fambo                                                           25,000.00
 Investment in SQRL:Investment Contributions-Justin O'Connell                                                     5,000.00
 Partner Distributions:Partner Distributions- Andrew Gould                                                       -9,016.49
 Partner Distributions:Partner Distributions- David Stanfill                                                    -54,016.49
 Partner Distributions:Partner Distributions- George Jimenez                                                    -23,318.63
 Partner Distributions:Partner Distributions- Jessica Gritzan                                                   -47,534.49
 Partner Distributions:Partner Distributions- Sidney Keith                                                      -26,506.40
 Partner Distributions:Partner Distributions-Kyle Slutz                                                         -10,673.40
Net cash provided by financing activities                                                                  $2,540,868.85
NET CASH INCREASE FOR PERIOD                                                                                $ -44,526.96
Cash at beginning of period                                                                                      67,245.13
CASH AT END OF PERIOD                                                                                           $22,718.17




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